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                                                                          of 4 DISTRICT 82                              .
                                                                     NORTHERN DISTRICT OF TEXAS
                                                                                 FILED

                       IN THE UNITED STATES DISTRICT C URT  OCT - ::l 2018
                       FOR THE NORTHERN DISTRICT OF EXAS
                               FORT WORTH DIVISION       c;;~IST,~TIf!RT
                                                                                     Deputy



UNITED STATES OF AMERICA                      §
                                              §
v.                                            §       Criminal Action No. 4:18-CR-239-A
                                              §
BOBBY CAMPBELL (01)                           §



               DEFENDANT'S MOTION FOR CONTINUANCE OF TRIAL
                    AND ASSOCIATED PRETRIAL DEADLINES


TO THE HONORABLE UNITED STATES DISTRICT JUDGE JOHN MCBRYDE:

        The defendant, BOBBY CAMPBELL, by and through his attorney of record, files this

motion to continue the trial in this matter, which is currently scheduled for NOVEMBER 26,

2018, as well as the associated pretrial deadlines.


                                            Background

        The defendant is one of two defendants named in a one-count Indictment filed on

September 19, 2018 charging the offense of Conspiracy to Distribute a Controlled Substance, in

violation of21 U.S.C. §846; §841(a)(1) and (b)(1)(B).



         The defendant was arrested on July 11, 2018 and appeared before U.S. Magistrate Judge

Jeff Cureton on July 19, 2018 for his initial appearance on the government's sworn complaint. A

detention hearing was held on July 24, 2018, after which an Order Setting Conditions of Release

was entered, and the defendant was released pending trial.


Defendant's Motion for Continuance of Trial and Pretrial Deadlines
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       On October 1, 2018, defense counsel forwarded a written discovery request to the

Assistant United States Attorney assigned to this case. This request included specific items,

including all reports, photographs, and videos pertaining to a traffic stop of the defendant which

was conducted on July 11,2018 by the Texas Department ofPublic Safety (DPS).

       On October 5, 2018, defense counsel learned from reviewing an official DPS report

(published on October 2, 2018) that some evidence was still in the possession of DPS and had

not been included with the discovery already published in this case.

       On Tuesday, October 9, 2018, after the holiday weekend, defense counsel conferred with

Assistant United States Attorney Chris Wolfe regarding these specific items of discovery that

had not yet been received. AUSA Wolfe contacted and spoke to the case agent regarding this

matter and confirmed that some evidentiary items were still in the possession of the DPS and had

not yet been produced. This evidence possibly includes 3 DPS reports, multiple photographs, and

at least one video. AUSA Wolfe assured defense counsel that these items would be produced by

close of business today (October 9, 2018). The pretrial deadline in this case is Thursday, October

11, 2018, and trial is scheduled for November 26, 2018.


                                             Motion

       The defendant's counsel requests a trial continuance of at least 30 days, along with an

adjustment of all associated pretrial deadlines, to allow for the completion of discovery, and have

sufficient time to perform a thorough investigation of the defendant's case and prepare an

adequate defense.




Defendant's Motion for Continuance of Trial and Pretrial Deadlines
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       This continuance is not requested for purposes of delay, but that justice may be served,

and the defendant may be afforded all reasonable opportunity to prepare for trial and/or

contemplate an informed alternative disposition of his case. Should the Court grant this

continuance, the defendant agrees that any period of delay resulting therefrom, made necessary

by this request for continuance, shall be excludable under 18 U.S.C. § 3161(h)(7)(A).

Additionally, the ends of justice served by the granting of this continuance outweigh the best

interests of the public and the Defendant in a speedy trial, 18 U .S.C. § 3161 (h)(7)(A)

       The undersigned counsel has conferred with the AUSA Wolfe regarding this motion and

he is unopposed to the granting of this motion.

       The undersigned counsel has conferred with attorney for co-defendant Sonia Cantu and

he is unopposed to the granting of this motion.



                                              Respectfully Submitted,



                                              BY:
                                                      VINCENT E. WISELY
                                                      TEXAS BAR NO. 24029904
                                                      5601 Bridge Street, Suite 300
                                                      Fort Worth, Texas 76112
                                                      (214) 802-5516 Office
                                                      (817) 672-5899 Fax

                                                      Representing Defendant Bobby Campbell




Defendant's Motion for Continuance of Trial and Pretrial Deadlines
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                            CERTIFICATE OF CONFERENCE

        I hereby certify that I, VINCENT WISELY, attorney for defendant Bobby Campbell, did
confer with CHRIS WOLFE, the Assistant United States Attorney assigned to this case, and he
stated that he is UNOPPOSED for reasons stated in this motion.




                                                                         d
       I hereby certify that I, VINCENT WISELY, attorney for defendant Bobby Campbell, did
contact the office of WILLIAM BIGGS, attorney for co-defendant Sonia Cantu, and he stated
that he is UNOPPOSED to the granting ofth::otio~




                                                   VINCENT E. WISELY
                                                   Representing Defendant Bobby Campbell




                               CERTIFICATE OF SERVICE

        I VINCENT WISELY, hereby certify that on October 9, 2018, the foregoing motion was
filed in paper form with the U.S. District Clerk for the Northern District of Texas, with a copy
delivered to CHRIS WOLFE, the Assistant United States Attorney assigned to this case ·



                                            BY:
                                                   VINCENT E. WISELY
                                                   Representing Defendant Bobby Campbell




Defendant's Motion for Continuance of Trial and Pretrial Deadlines
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